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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF OKLAHOMA


    UNITED STATES OF AMERICA,

          Plaintiff,

          And

    OSAGE MINERALS COUNCIL,

          Intervenor-Plaintiff,

    v.                                             Case No. 14-CV-704-GKF-JFJ

    OSAGE WIND, LLC;
    ENEL KANSAS, LLC; and
    ENEL GREEN POWER NORTH
    AMERICA, INC.,

          Defendants.

                Plaintiff United States of America’s Response in Opposition to
                Defendants’ Motion for Partial Summary Judgment (Dkt. 297)
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        Plaintiff, the United States of America, responds in opposition to Defendants’ Motion

   for Partial Summary Judgment and Brief in Support (Dkt. 297) as follows:

   I.      Response to Defendants’ Statement of Undisputed Facts

        1. Disputed in part. Defendants leased privately owned fee surface estate lands consisting

   of 8,190 acres in Osage County, Oklahoma. See Steven Hazel’s Expert Report, Dkt. 300 at

   Exh. 8, p. 4, as filed under seal at Dkt. 299.

        2. Disputed. Defendants’ attempt to minimize the significance and extent of their actions

   to develop the Osage Mineral Estate (OME) by characterizing wind turbines as being

   “placed” on the leased 8,190 acres is trite. Defendants not only employed special excavation

   activities – e.g. blasting with explosives and rock crushing for at least 82 of its 84 turbine

   locations - they specifically opted to ignore the option of building turbine foundations on the

   surface without digging holes. See Exhibit 1 (EGPNA Change Order Approval

   Authorization dated 12/9/2014) (Failure to approve the $2M change order would have

   resulted in temporary storage costs, construction cost delays, and cold weather works

   resulting in costs “much higher than the overall cost of the Change Order.”) 1; Exhibit 2

   (Weigel Dep. Tr.) at 28:17-19.




           1
             The decision process for rock crushing was driven by the following conditions:
                                                  ...
           • Big rocks and boulders could not be displaced with imported material from
           outside the project. Given the issue with Osage Nation the disposal of
           excavated rocks and import of backfilling material from outside the County was
           a more expensive solution.
           • Importing material was also not advised by EGPNA Legal Dep. because it
           would have given credit to Osage Nation’s theory on the commercial use of soil
           and therefore abandoned.
                                                  ...
   Id. at 2.


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       3. Disputed. The extent of Defendants’ illegal excavations and mining cannot be

   precisely known because they failed to keep such records in the face of anticipated litigation

   on the subject. See United States’ Motion to Determine Sanctions for Spoliation of

   Evidence, Dkt. 293. Although the original Barr Engineering Foundation Drawings

   indicated the excavation area for each wind turbine foundation was to measure 10 feet deep

   and 60 feet in diameter, see Exhibit 3 (Barr Drawing), Exhibit 4 (photographs taken by

   Defendants), as well as an eye-witness account, Exhibit 5 (Whiteshield Depo. Tr. 112:15-

   113:1), 2 indicate that the excavation areas were larger than 10 feet deep and 60 feet in

   diameter. See also Exhibit 6 (Whiteshield Complaint Form); Exhibit 7 (Letter of 10/9/2014

   to F. Venturini: “In performing an inspection, Mr. Whiteshield found a pit approximately

   60 feet wide and 30 feet deep.”).

       4. Undisputed. 3

       5. Disputed. As with Fact No. 2, Defendants again try to minimize the significance and

   extent of their actions taken to develop the OME by simply characterizing such as the wind

   turbines having concrete turbine foundations “poured” into each such hole. The Tenth

   Circuit has already found Defendants’ mineral development of the OME encompassed

   “sort[ing] the extracted rock material into small and large pieces, and then crush[ing] the

   smaller pieces so they would be the proper size for backfilling the holes.”) United States v.

   Osage Wind, LLC, 871 F.3d 1078, 1087 (10th Cir. 2017).




   2
     “On my visit on September 29, 2014, I witnessed several pits that were 60 foot wide, 30
   foot deep.” Exh. 5, Whiteshield Depo. Tr. 112:15-113:1.
   3
     The rock that was excavated consisted of limestone, shale and clay. See Exhibit 8 (Freas
   Expert Report, VI(b) at 3). Clay is a component of sedimentary rock.

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      6. Disputed. The extent of Defendants’ illegal excavations and mining cannot be

   precisely known because they failed to keep such records in the face of anticipated litigation

   on the subject. See Dkt. 293.

      7. Undisputed.

      8. Disputed in part. As in Fact Nos. 2 and 5, Defendants again try to minimize the

   significance and extent of their actions to develop the OME by simply characterizing their

   “push[ing] back” excavated OME materials into the turbine holes as backfill. The Tenth

   Circuit found Defendants’ use of the excavated material for “backfill[] and stabilization”

   constituted “mining” and required a lease. Osage Wind, LLC, 871 F.3d at 1091-92.

      9. Undisputed and immaterial. The Tenth Circuit rejected Defendants’ previous

   “proposed commercialization requirement” argument, finding that confining “mining” to

   sales and offsite relocations of extracted minerals was “overly restrictive.” Id. at 1089-90.

      10. Disputed. See United States’ response to Disputed Fact No. 6 above.

      11. Undisputed and immaterial. The Project would be inoperable but for the ongoing use of

   the stolen OME Defendants excavated and continue to use as backfill (providing ongoing

   stabilization for the turbines and related infrastructure) - not to mention the area

   immediately surrounding the turbines, which remains off limits for mining, making those

   minerals inaccessible.

      12. Undisputed and immaterial. See United States’ response to Undisputed and Immaterial

   Fact No. 11 above.

      13. Undisputed and immaterial. See United States’ response to Undisputed and Immaterial

   Fact No. 11 above.




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         14. Disputed. It is Robert Freas’s opinion that $247,979.42 is the royalty amount under 25

   C.F.R. § 214.10(d) for the minerals mined, with the total value of minerals mined at the

   nearest shipping point being $2,479,794.20. See Exh. 8 at 11. This does not take into account

   the total value of minerals mined at the excavation site, which would include the cost of

   shipping (representing the value conferred to Defendants for using the minerals mined).

         15. Disputed. John Pfahl testified the $68,993 figure was for limestone only. See Exhibit 9,

   Pfahl Depo Tr. 29:20-30:8, 32:3-7. Mr. Pfahl did not take into consideration that clay and

   shale were minerals “mined” by Defendants. Id. Mr. Freas’s opinion is that $247,979.42 is

   the royalty amount under 25 C.F.R. § 214.10(d) for the minerals mined, with the total value

   of minerals mined at the nearest shipping point being $2,479,794.20. See Exh. 8 at 11. This

   is not the total value of minerals mined at the excavation site, which would include the cost

   of shipping (representing the value conferred to Defendants for using these minerals).

   Further, this figure is separate from the lost rental value of the lease not entered into, which

   robbed the OMC of its opportunity to negotiate as addressed in Mr. Hazel’s expert report.

   II.      United States’ Additional Undisputed Facts
         1. Defendants’ extraction, sorting, crushing and use of minerals as part of its

  construction efforts constituted “mining.” Dkt. 99, Defendants’ Answer at ¶ 2; Osage Wind,

  LLC, 871 F.3d at 1081-82.

         2. Defendants were required to obtain a federally approved lease prior to their

  excavation work, mining and construction activities. Dkt. 99 at ¶¶ 2, 24.




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       3. Defendants did not obtain a federally approved lease prior to their excavation work,

  mining and construction activities, and so were not authorized to begin excavation work,

  mining or construction activities. Id. at ¶ 2; 25 C.F.R. § 214.7. 4

       4. Defendants excavated OME minerals so that wind turbines, transmission lines and

  an underground collector system could be installed within the OME. Osage Wind, 871 F.3d at

  1081-82; Exhibit 10 (Mazurowski Depo. Tr., 35:14-21; 46:3-17).

       5. After the turbine foundations, transmission lines and collector system were installed,

  Defendants purposefully used and exploited the excavated minerals as: (1) backfill to

  structurally support and stabilize the turbine foundations, Exhibit 11 (Moskaluk Depo. Tr.,

  68:23-69:7); Exh. 10 at 97:2-9; (2) backfill to structurally support and stabilize the

  transmission line poles, Id. at 46:18-21; (3) thermal insulation to insulate and protect the

  cables for the collector system, Exhibit 12 (Pike Depo. Tr., 145:23-146:8, 146:20-147:11; (4)

  material to construct the access pads, roads and aprons around each wind tower, Exh. 11 at

  62:4-8, 63:3-18, 68:23-69:7; and (5) material to provide built up drainage to allow rain to

  drain away from each wind turbine, Id. at 68:23-69:7, 61:10-21.

       6. Defendants are actively using and exploiting the OME excavated minerals to provide

  structural support and stabilization for the turbine foundations. Exh. 10 at 97:2-9; Exh. 12 at

  45:1-6.

       7. Defendants are actively using and exploiting the in situ minerals of the OME within a

  90-foot radius of each wind turbine to provide structural support for them. See Enel Safety




   4
    Although this section includes a 160-acre maximum for a single lease, 25 C.F.R. § 1.2
   provides the Secretary with authority to waive or make exceptions to the regulations in
   Chapter 25 (including Part 214) where it is in the best interests of the Osage Nation.

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   Radius Memo, Dkt. 300 at Exh. 7, as filed under seal at Dkt. 299; Exh. 12 at 39:12-16, 48:20-

   49:1, 100:3-9.

    III.     Summary Judgment Standard

          Summary judgment is proper if “there is no genuine dispute as to any material fact and

    the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a); Celotex Corp. v.

    Catrett, 477 U.S. 317, 323 (1986). When applying this standard, “[w]e examine the factual

    record and draw all reasonable inferences in the light most favorable to the nonmoving

    party.” City of Herriman v. Bell, 590 F.3d 1176, 1181 (10th Cir. 2010).

          A material fact is one which may affect the outcome of the suit under the governing law.

    Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986). Defendants cite a number of

    facts immaterial to the summary judgment requested and refuse to acknowledge the Tenth

    Circuit’s decision as setting out critical, material facts.

    IV.      Arguments and Authorities

             A.     Defendants committed a trespass against the OME by conducting mining
                    and other work without first obtaining a federally approved mineral lease.

          Although the Tenth Circuit specifically found Defendants were required to procure a

    lease under 25 C.F.R. § 214.7 to exploit the OME, Osage Wind, LLC, 871 F.3d at 1093,

    Defendants urge the Court to dismiss the United States’ continuing trespass claim because

    Defendants still believe they never trespassed against the OME in the first place. This

    position shows no regard for the fact that they were never authorized to begin excavation

    work at all, let alone to act upon the minerals to exploit them for Defendants’ benefit.

          As noted by the Tenth Circuit, 25 C.F.R. § 214.7 specifically provides, “[n]o mining or

    work of any nature will be permitted upon any tract of land until a lease covering such tract shall have

    been approved by the Secretary of the Interior and delivered to the lessee.” Osage Wind, 871 F.3d


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    at 1082 (emphasis in original), citing 25 C.F.R. § 214.7. It is undisputed that Defendants’

    extraction, sorting, crushing and use of minerals in their construction efforts constituted

    “mining.” Osage Wind, 871 F.3d at 1081-82; see also Additional Undisputed Fact No. 1.

    Under § 214.7, Defendants were not permitted to engage in “mining” on the 8,190-acre tract

    of land until a minerals lease covering this area was obtained from the Osage Minerals

    Council (OMC) and approved by the Secretary of the Interior. Because Defendants engaged

    in “mining” before obtaining an approved minerals lease, Defendants ipso facto trespassed

    against the OME. Any argument of Defendants against this would be meritless. In lieu of

    arguing that their unauthorized mining did not constitute a trespass, Defendants focus their

    attention on the placement of their wind turbines.

       Defendants would have the Court believe the mere “placement of wind turbine

    foundations did not require a lease under 25 C.F.R. Part 214 and was not a trespass of any

    kind, let alone a continuing trespass.” Dkt. 297 at 16-17. This hubris is breathtaking. To

    advance this false narrative, Defendants want the Court to overlook the plain, unambiguous

    language of 25 C.F.R. § 214.7, “[n]o mining or work of any nature will be permitted upon any

    tract of land until a lease covering such tract shall have been approved by the Secretary of the

    Interior and delivered to the lessee.”

       Two distinct events in 25 C.F.R. § 214.7 are prohibited from taking place until a

    federally approved lease is obtained. The first is “mining,” which the Tenth Circuit found

    Defendants conducted, thereby needing a lease. The second is “work of any nature.”

    Defendants’ pouring of the concrete turbine foundations, installation of transmission poles,

    and laying of underground collector system cables in excavated holes and trenches

    constituted “work of any nature,” which Defendants were not permitted to do until a



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    federally approved lease was obtained. The fact that Defendants engaged in these activities

    without permission is dispositive on the issue of Defendants’ trespass per 25 C.F.R. § 214.7.

       Defendants further argue that “the turbine foundations did not ‘physically invade’ the

    mineral estate and their placement was not a trespass,” by noting that the Tenth Circuit

    previously opined, “digging a hole in the ground, displacing rock and soil in the process,” or

    otherwise “merely encountering or disrupting the mineral estate,” was not “mining” under

    25 C.F.R. § 211.3 and did not require a lease. Dkt. 297 at 17, citing Osage Wind, 871 F.3d at

    1092 (emphasis added). Defendants’ fundamental misunderstanding of the Tenth Circuit’s

    opinion is apparent. Just because the pouring of concrete, installation of transmission lines

    and laying of underground collector system cables does not appear neatly within the § 211.3

    definition of “mining,” does not mean Defendants were permitted to carry out these

    activities within the OME without first obtaining a federally approved lease. Defendants

    were required to obtain such a lease before taking these actions because the acts of pouring

    concrete foundations, installing transmission poles and laying underground collector system

    cables within the OME falls well within the second category of “work of any nature”

    provided under 25 C.F.R. § 214.7. Defendants’ failure to obtain the required lease before it

    conducted this work necessarily means Defendants committed trespass against the OME.

       As Defendants point out, a claim of trespass requires that “one person ‘actually

    physically invades the real estate of another without the permission of the person lawfully

    entitled to possession.’” Dkt. 297 at 17, citing Davilla v. Enable Midstream Partners, L.P., 913

    F.3d 959, 966 (10th Cir. 2019) (quoting with alterations Williamson v. Fowler Toyota, Inc., 956

    P.2d 858, 862 (Okla. 1998)). Here, Defendants did not have the requisite OMC permission

    to pour concrete foundations, install transmission poles or lay underground collector system



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    cables within the OME. Therefore, Defendants actually and physically invaded the OME

    without permission and so committed trespass against it.

        Defendants go on to argue that - notwithstanding the issue of turbine foundations and

    transmission lines - the physical excavation work they conducted was not “mining” and did

    not require a lease. Of note, this new contention directly contradicts admissions made in

    Defendants’ Answer no less than fifteen times: “The Defendants admit that the Tenth Circuit

    Court of Appeals determined certain actions of Osage Wind constituted “mineral development”

    for which a federally approved lease was required, and no such lease was issued prior to the

    excavation and construction activities.” Dkt. 99 at ¶¶ 24, 25, 33, 39, 42, 43, 46, 47, 48, 50,

    53, 54, 61, 62 and 64. Moreover, in open court during a motion hearing, Defendants’

    counsel admitted: “Now, this case, Your Honor, presents a narrow issue which is the Tenth

    Circuit concluded that because Osage Wind sorted rock, crushed rock, and used rock, that rock

    that was sorted and crushed in turbine foundations, that that activity and that activity alone

    required a lease to be granted under some specific provisions in the Code of Federal

    Regulations.” Dkt. 125 at 5 (emphasis added). Counsel then admitted “the Tenth Circuit

    said a specific part of the construction constituted mineral development.” Id. at 6. Further,

    counsel admitted: “Your Honor, I just believe, at bottom, the requirement to get a lease was

    triggered by very specific activities.” Id. at 29. Clearly, in their earlier, more candid

    moments, Defendants fully understood a lease was required because the regulations had

    been “triggered.” 5 In fact, Defendant squarely admitted that, “Osage Wind’s activities

    constituted mining in violation of federal law.” Dkt. 177 at 11-12.


    5
     Judge Jayne dismissed Defendants’ specious argument that discovery could only take place
    on crushing and sorting activity, finding that “[c]ontrary to defendants’ argument,” “the
    Tenth Circuit opinion [is] not so clear that plaintiff should be entirely foreclosed from any

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       Aside from Defendants’ complete about face, mining is not the only category of activity

    they were prohibited from doing without first obtaining permission. Defendants were also

    prohibited from conducting “work of any nature” without permission. 25 C.F.R. § 214.7.

    Excavation work clearly falls within the category of “work of any nature.” Indeed, the

    Secretary of the Interior adopted a carveout to § 214.7 allowing excavation work to take

    place without prior permission when the extraction of minerals involves 5,000 cubic yards

    or less in a given year. 25 C.F.R. § 211.3. “Thus, in practice, owners of the surface estate

    retain virtually uninhibited use of their lands, unless of course they seek to develop more

    than 5,000 cubic yards of common-variety minerals.” Osage Wind, 871 F.3d at 1092. Here,

    Defendants excavated well over 5,000 cubic yards of minerals from the OME in 2014 during

    the construction of the Project. Therefore, pursuant to 25 C.F.R. § 214.7, Defendants were

    required to obtain a federally approved lease before they conducted excavation work. Because

    Defendants conducted excavation work without first obtaining the required lease, they

    irrefutably committed trespass against the OME. 6

       Defendants suggest “[n]o principled distinction can be made between pouring concrete

    into an empty hole for a swimming pool or the basement of a building, which the Tenth

    Circuit recognized did not require a lease, and pouring concrete into an empty hole for a

    wind turbine foundation.” Dkt. 297 at 18. (One could be forgiven for mistaking Defendants’

    current motion as another request to reconsider the Tenth Circuit decision, as many of the

    issues raised were squarely addressed by the Circuit.) To repeat, where the work to be



    discovery” on topics beyond sorting and crushing and at sites beyond the turbine sites. Dkt.
    125 at 34.
    6
      Had Defendants excavated 5,000 cubic yards or less of minerals in 2014, they would not
    have needed a federally approved lease before conducting this work and so would not have
    committed a trespass against the OME.

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    performed involves the excavation of Osage minerals in excess of 5,000 cubic yards in a

    given year, permission from the OMC is a prerequisite. 25 C.F.R. § 211.3. It is incredible

    that someone would seek to build a swimming pool or basement in Osage County that

    would exceed this 5,000 cubic yard exception, as 5,000 cubic yards represents more than

    one and a half Olympic size swimming pools. 7 The construction of the average swimming

    pool or basement in rural Osage County bears no comparison to the construction of the

    Osage Wind Project, which resulted in the excavation of approximately 171,022.8 cubic

    yards of minerals. Exh. 8 at 3 (4,617,603.5 cubic feet ÷ 27 = 171,022.8 cubic yards). For

    Defendants to argue they did not need permission to begin such massive excavation work

    based on an understanding that permission unnecessary to begin excavation work for the

    construction of an average-size backyard swimming pool is disingenuous and unreasonable.

    The Court should not be persuaded by Defendants’ irrational attempt to veil their deliberate

    trespass against the OME. The de minimis 5,000 cubic yard exception does not extend to

    Defendants’ construction activities, as the Tenth Circuit has already so plainly ruled.

           B.     The Court should not dismiss the United States’ continuing trespass claim.

        Defendants ask the Court to dismiss the United States’ continuing trespass claim.

    Defendants advance their boldest argument with their weakest support. They argue none of

    the “excavated minerals were ‘acted upon for the purpose of exploiting the minerals

    themselves’ to place the foundations” and that the “placement of the turbine foundations”




    7
     Per the Fédération Internationale de Natation, an Olympic swimming pool measures 50
    by 25 meters, with a depth of at least two meters, for a total of 3,300 cubic yards.
    https://www.themeasureofthings.com/results.php?comp=volume&unit=cy&amt=599&sor
    t=pr&p=1.

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    was the sole basis for a judgment of continuing trespass. Dkt. 297 at 18, citing Osage Wind,

    LLC, 871 F.3d at 1092. Defendants’ contentions are demonstrably wrong.

       First, Defendants’ assertion that the “placement of the turbine foundations” is the only

    basis for a judgment of continuing trespass completely ignores the text of the United States’

    First Amended Complaint, which provides:

                                         COUNT IV
                                    CONTINUING TRESPASS

                                                 ...

           53. Defendants were never authorized to extract minerals from the Osage
               mineral reserve. Defendants did not enter into a lease or have a lease
               approved by the Secretary to extract, excavate or make use of minerals.

           54. Defendants were prohibited from invading, extracting and excavating
               minerals pursuant to 25 C.F.R. § 211 or pursuant to 25 C.F.R. § 214.

           55. Defendants entered and disrupted the Osage mineral estate and
               excavated minerals therefrom, in a manner constituting continuing
               trespass.

           56. Defendants knew or should have known that they were required to
               comply with the express provisions of 25 C.F.R. § 211 or 25 C.F.R. §
               214.

           57. By placement of the turbine foundation and other materials,
               Defendants trespassed on the Osage mineral estate, in violation of
               law and, in doing so, caused damage to the estate. The insertion and
               placement of materials or structures in the mineral estate is a
               continuing trespass and diminishes the estate or diminishes the use
               and enjoyment of the mineral estate.

    Dkt. 20 at 10-11 (emphasis added). The “placement of the turbine foundations” is not the

    only basis the United States plead to support the continuing trespass claim. Defendants were

    not allowed to begin excavation work, or work of any other nature, without first obtaining

    permission through a federally approved lease. 25 C.F.R. § 214.7. Defendants committed a

    trespass against the OME when they began excavation work and mined without permission.



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    Further, Defendants’ unsanctioned ongoing and active use and exploitation of the excavated

    minerals and in situ minerals for their continued benefit constitutes a continuing trespass

    against the OME. To the extent Defendants are trying to argue the United States did not

    plead enough facts to state a claim for continuing trespass, such an argument should have

    been raised in a Rule 12 motion. Concealing Defendants’ argument within a Rule 56

    motion should not grant them a ticket to a ship that has sailed. The Court should not

    dismiss the United States’ well plead continuing trespass claim.

       Second, the minerals Defendants excavated (without permission) were indeed “acted

    upon for the purpose of exploiting the minerals themselves” to place the turbine

    foundations. Osage Wind, LLC, 871 F.3d at 1092. Defendants acted upon (i.e., sorted and

    crushed) the excavated rocks to exploit them as backfill to construct the wind turbines. Id. at

    1087 (“[Defendants] sorted the extracted rock material into small and large pieces, and then

    crushed the smaller pieces so they would be the proper size for backfilling the holes.

    [Defendants] positioned the bigger rock pieces adjacent to the backfilled excavation sites.

    All of this was done to add structural support to the large wind turbines installed deep in the

    ground.”). To exploit the excavated rocks as backfill, Defendants were first required to crush

    them. Defendants’ Site Coordinator, Bill Moskaluk, testified:

           Q.     Did the crushing of the larger rocks into smaller rocks, did that serve any
                  purpose?

           A.     Yes, it was used for backfill material in the foundation itself. And we can’t
                  have anything 6 inches or greater in the foundation.

           Q.     Okay. That was a requirement that you couldn’t have anything larger than 6
                  inches; is that right, as backfill?

           A.     Yes.

           Q.     And do you know why that is so?


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           A.     It’s a requirement by Barr Engineering who designed the foundation
                  themselves.

    Exh. 11 at 43:9-20. Along with sorting and crushing the excavation material, Defendants

    also conducted certain tests and analysis before exploiting the excavated material as backfill.

    Exhibit 13, Technical Specifications at Sec. 7.18 (“Soils used as fill material shall be tested

    for grain size analysis, moisture content, Atterberg limits on fines content, and proctor tests

    (standard dry maximum density).”).

       In addition to acting on (i.e., testing, sorting and crushing) the excavated rock to exploit

    it as backfill, Defendants acted on all excavated minerals (not just the limestone and shale)

    to exploit them during the construction of the turbine foundations, transmission lines and

    collector system. Defendants used the excavated minerals (crushed limestone, shale and

    clay) as backfill for the excavated holes and then acted on the backfill material by

    compacting it to provide further structural support. As Mr. Moskaluk testified:

           Q.     What was the purpose for compaction of backfill?
           A.     To stabilize your foundation and also the turbine on top of your foundation.
    Exh. 11 at 44:17-19. Defendants’ Project Manager with IEA Construction, Craig

    Mazurowski, testified:

           Q.     It is your testimony that, based upon your experience, when clay and
                  limestone is used as backfill, is it being used as a means of achieving the
                  purpose of structural support?

           A.     Yes.

                                                   ...
           Q.     What would be the need for compaction of backfill in regards to wind tower
                  foundations?
           A.     Structural support.
           Q.     Okay. And that’s important?
           A.     Yes.


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                                                  ...
           Q.      It’s your understanding, sir, that all of the excavated material that was used as
                   backfill was used for the purpose of structural support for the wind towers; is
                   that correct?

           A.      Correct.

    Exh. 10 at 31:17-21; 84:23-85:3; and 80:9-13. In addition to being exploited as backfill, the

    excavated materials were also used to achieve positive drainage away from the turbine

    foundations:

           Q.      Okay. But, in fact, this excavated material was used for some -- for a purpose
                   other than backfill; is that correct?

                   Mr. Ray: Object to form.

           A.      In some cases it was spread around the turbine site itself, yes.

           Q.      When it was -- so when it was used as backfill, it was also being used for
                   structural support for the wind tower; is that correct?

           A.      The backfill material was for the structural support. The other area was for
                   drainage that we built up draining it away from the turbine itself, and a
                   portion of that in that little access road and apron around the terminal --
                   around the turbine, but it didn’t leave that particular site, to my knowledge.

    Exh. 11 at 68:17-69:7. Defendants’ exploitation of the excavated material to achieve positive

    drainage was premeditated in their Technical Specifications for the Project:

           If adequate for backfilling, excess excavation material will be distributed and
           compacted around the foundation and graded to establish positive drainage
           away from the foundation . . . Ponding of water near the foundation elements
           from improper drainage shall not be permitted . . . Final site grading shall
           ensure no ponding occurs directly over foundation excavation.

    Exh. 13 at 8.2.

       Defendants’ assertion that none of the “excavated minerals were ‘acted upon for the

    purpose of exploiting the minerals themselves’ to place the foundations” (Dkt. 297 at 18) is

    audacious in the face of the Technical Specifications they drafted for the Project and the



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    testimony of their construction team. There is no basis for the Court to dismiss the United

    States’ continuing trespass claim, as Defendants request. Rather, the Court should find that

    Defendants’ ongoing use and exploitation of the excavated materials without permission

    constitutes a continuing trespass against the OME as a matter of law.

       Defendants further argue the United States’ continuing trespass claim should be

    dismissed because the rock crushing activity is “(1) not ongoing, (2) not abatable, and (3) a

    permanent physical change to land.” Dkt. 297 at 20. Defendants’ argument ignores that the

    United States’ continued trespass claim is not predicated on the prior crushing of rock, but

    rather is centered around Defendants’ ongoing invasion, disruption, diminishment, use, and

    exploitation of the OME (both excavated minerals and in situ minerals).

                   1.     Defendants’ continuing trespass against the OME is ongoing.

       Defendants’ exploitation of the minerals they excavated was not a one-off. Defendants

    continue to exploit the excavated materials without permission.

           Q.      When you’re constructing a wind farm, what purpose does backfill serve?

           A.      Structural integrity of the wind turbines.

           Q.      And would you agree that for the life of the wind farm, once that backfill’s
                   placed in there to support the turbine, the wind farm cannot continue to
                   operate if that backfill were to be removed?

           A.      Yes. It would make it unsafe.

    Exh. 10 at 97:2-9; see also Exh. 13 at 8.2 (“When turbine is fully erected and operational, the

    backfill material directly over the foundation footprint should be undisturbed at all times.”);

    Exh. 12 at 45:1-6 (“So the structural stability of the wind turbine relies on the stability of the

    foundation and the foundation and the weight of the materials above the footing of the

    foundation. So to keep the stability of the turbine, you need to keep the soils above the



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    foundation of the wind turbine.”). Defendants are also exploiting in situ minerals that were

    not excavated.

       In an internal memo, Defendants admit that - not only are they continuing to exploit the

    excavated materials for structural support - they are also continuing to exploit the in situ

    minerals within a 90-foot radius of each wind turbine. Dkt. 300 at Exh. 7, as filed under seal

    at Dkt. 299 (“Enel Engineering and Construction’s conservative recommendation is to have

    a 90 ft radius from the turbine center pin as a ‘no excavation’ zone. Any excavation within

    this radius may reduce the stabilizing load provided by the terrains weight, reducing the

    overturning safety factor.”). Defendants’ Rule 30(b)(6) Witness, Stephen Pike, testified:

           Q.     Okay. So by removing the materials or minerals that’s in this zone between 26
                  feet and 90-feet radius outside of the wind tower, by removing those it has the
                  potential to affect the stability of the wind tower; is that correct?

           A.     I think that is a fair statement, correct.

           Q.     Okay. So it is the defendants’ position that the Osage Minerals Council cannot
                  develop the minerals within this no excavation zone because if they do, it has
                  the potential of harming the stability or affecting the stability of these wind
                  towers; is that correct?

           A.     That is correct.

           Q.     And it’s the defendants’ position that the Osage Minerals Council is not able to
                  mine minerals from within this no excavation zone; is that correct?

           A.     That is correct.

           Q.     [] Is it the defendants’ position that the minerals within this 90-foot radius are
                  inaccessible to the Osage Minerals Council?

           A.     That is correct.

    Exh. 12 at 48:20-49:19. Defendants’ active and ongoing use, exploitation and invasion of

    the OME within a 90-foot radius of their wind turbines without permission is, by any




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    account, a continuing trespass against the OME. In an internal e-mail mere months before

    this litigation’s commencement, Defendants’ lead counsel warned of the same liability:

           This memo, as; [sic] did our prior memo, references cases at pages 5 and 6
           recognizing limitations on the surface owners’ rights, including that the surface
           owner may be obligated to reimburse the mineral estate owner for the value of
           minerals rendered inaccessible to the mineral owner.”

    Exhibit 14, Email of 8/25/2014 from Slade to Willman (emphasis added).

                  2.      Defendants’ continuing trespass against the OME is abatable.

       Contrary to Defendants’ suggestion, their continuing trespass is abatable. Removal of

    their wind turbines and ancillary structures would abate their continuing trespass. As noted,

    Defendants’ turbines are actively using, without permission, the in situ OME minerals

    within a 90-foot radius of each turbine for structural support. By removing the turbines,

    Defendants would no longer be using and exploiting the in situ OME minerals for structural

    support. Defendants’ continuing trespass against the in situ minerals is clearly abatable.

                  3.      Defendants’ current use of the in situ minerals is not a permanent
                          change to the physical condition of the OME.

       Defendants argue the Court should dismiss the United States’ continuing trespass claim,

    because the prior rock crushing activity constituted a permanent change to the physical

    condition of the OME. Dkt. 297 at 22-23. Defendants argue that where there is a permanent

    wrongful change to the physical condition of land, the Restatement (Second) of Torts limits

    redress to an action for trespass alone. Id. citing Restatement (Second) of Torts, § 162.

       This Court previously held that it will not apply the Restatement (Second) of Torts to

    determine the United States’ ejectment and permanent injunction remedies. Dkt. 264 at 25

    (“The court will not apply the RESTATEMENT factors in this case in favor of the Davilla

    factors.”) (footnote omitted).



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       Even were the Court to apply the Restatement, Defendants’ arguments would still fail.

    The United States’ continuing trespass claim is not predicated upon Defendants’ rock

    crushing activities, but, rather, upon Defendants’ ongoing invasion, disruption,

    diminishment and exploitation of the OME without permission through their unauthorized

    appropriation and ongoing use of excavated minerals as structural backfill material to

    support the turbine foundations, as well as, Defendants’ unauthorized use and ongoing

    exploitation of the in situ minerals surrounding the wind turbines. While the changes to the

    physical characteristics of some excavated minerals may have been permanent, Defendants’

    unauthorized invasion, disruption, diminishment, and exploitation of the OME is not.

           C.     The ownership interest to empty holes and surfaces exposed by
                  Defendants’ unauthorized excavation work is irrelevant to the United
                  States’ trespass and continuing trespass claims.

       Defendants argue the presence of the turbine foundations within the OME without

    permission is not a trespass or continuing trespass to the OME, because the surface owner

    owns the “empty holes and surfaces exposed by excavation.” Dkt. 297 at 18, citing Ellis v.

    Ark. La. Gas Co., 450 F. Supp. 412, 421 (E.D. Okla. 1978); O’Brien Oil, LLC v. Norman, 233

    P.3d 413, 417 (Okla. Civ. App. 2010). However, Defendants’ citation to Ellis and O’Brien is

    misplaced. The case at hand does not involve the construction of turbine foundations and

    ancillary structures within existing earthen pits or depleted natural gas reservoirs. Instead,

    the case involves Defendants’ unauthorized creation of earthen pits within the OME and the

    subsequent unsanctioned development and exploitation of the excavated minerals to

    support installation of the turbine foundations and ancillary structures. Even if the surface

    owners own the surface interest of any newly created earthen pit in Osage County, this

    ownership interest does not grant the surface owners, or their lessees – here Defendants, the



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    right to use the excavated minerals as structural backfill, nor does it grant the right to use the

    in situ minerals adjacent to the earthen pits for structural support of the structures installed

    therein. Regardless of who owns the surface, Defendants’ unauthorized excavation, mining,

    and ongoing use and exploitation of the OME constitutes a trespass and continuing trespass.

       Moreover, Defendants fail to acknowledge later caselaw, expressly addressing the Ellis

    holding, calling into question the applicability of the general rule in certain circumstances

    that exist in this case. In City of Kenai v. Cook Inlet Nat. Gas Storage Alaska, LLC, the Court

    specifically examined the Ellis holding and agreed with the general principle of the

    “American rule” regarding natural gas storage rights. 373 P.3d 473, 483 (Alaska 2016).

    However, the Court cautioned that the American rule was only applicable when “no

    statutory reservation [is] at issue,” and that the Ellis Court attempted to discern the “intent

    of the private parties” where there was no “language of the severing deed dictating a

    different construction.” Id. The Court went on to reject any argument that the American

    rule applied where there was a “reservation of rights” under statute. Id. at 484. The Court

    determined, “the rights at issue are governed by the terms of the statutory reservation.” Id.

    The American rule does not apply in the context of the Osage Mineral reservations because

    the Tenth Circuit has held that the Court “must apply the general rule that statutes passed

    for the benefit of dependent Indian tribes are to be liberally construed with doubtful

    expression being resolved in favor of the Indians.” Millsap v. Andrus, 717 F.2d 1326, 1329

    (10th Cir. 1983). In short, Defendants’ arguments concerning natural caverns and the

    American Rule does not apply, where Congress has statutorily reserved a mineral estate.




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           D.      Defendants’ unauthorized, ongoing use and exploitation of the in situ
                   minerals within the OME can only be remedied through injunctive relief, if
                   a Part 214.7 lease is not executed.

       Defendants argue the United States’ demand for removal of the wind turbines should be

    dismissed, because the harm caused by Defendants’ ongoing use and exploitation of the in

    situ minerals around the turbines is compensable by monetary damages. However, this

    argument assumes the Court has the authority to award monetary damages in lieu of a

    lease. Defendants are mistaken. Without a valid Part 214.7 lease, the only remedy the Court

    has in its quiver - with respect to Defendants’ continuing trespass against the in situ minerals

    in question - is injunctive relief.

       It is generally accepted that when the U.S. Constitution reserves a power to Congress,

    the other branches of government are prohibited from exercising such power absent an

    express Congressional delegation of authority. In the context of federal Indian law, it has

    long been recognized that the Constitution reserves exclusive authority to Congress. See

    Oneida County, N.Y. v. Oneida Indian Nation of N.Y. State, 470 U.S. 226, 234 (1985) (“With the

    adoption of the Constitution, Indian relations became the exclusive province of federal

    law.”). “Plenary authority over tribal relations of the Indians has been exercised by

    Congress from the beginning, and the power has always been deemed a political one, not

    subject to be controlled by the judicial department of the government.” Lone Wolf v.

    Hitchcock, 187 U.S. 553, 566 (1903). This “plenary authority” includes “full power to

    legislate concerning [] tribal property.” Winton v. Amos, 255 U.S. 373, 391 (1921).




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        Acting within its plenary power, Congress set aside and reserved the in situ minerals in

    the area now known as Osage County, Oklahoma to the Osage Nation. 8 See Act of June 28,

    1906, § 3, 34 Stat. 539. It is well-understood that once these minerals were set aside and

    reserved to the Osage Nation, they were reserved for the Osage Nation until such time

    Congress explicitly indicates otherwise. Solem v. Bartlett, 465 U.S. 463, 470 (1984) (“[O]nly

    Congress can divest a reservation of its land and diminish its boundaries.”). The Tenth

    Circuit long ago held that “The Act [of 1906] also evidences a congressional intent to

    maintain control over the more valuable resources to prevent their improvident depletion

    by individual tribe members.” Millsap, 717 F.2d at 1328 (emphasis added). Congress acted

    specifically to “insur[e] to tribal management the valuable economic base in the mineral

    resources[.]” Id. (emphasis added).

        Congress did not grant the Court authority to award monetary damages as

    compensation for continuing trespass. Doing so may in essence grant Defendants title to the

    in situ minerals in question. The Court cannot re-title property lawfully reserved to the

    Osage Nation by Congress, as this would infringe upon Congress’ plenary power to legislate

    matters concerning Indian property. Neither can the Court remove the in situ minerals in

    question from the Osage Nation’s mineral reservation, as the Court has no authority to

    diminish, or otherwise disestablish, the reserved characteristics of the in situ minerals.

        Even if title to the in situ minerals is not changed as part of a Court ordered

    remuneration, the conveyance of an exclusive right to use and possess in the future, without

    a lease, would be inherent with respect to monetary compensation for Defendants’



    8
      Previously known as the Osage Tribe of Indians. See Act of June 28, 1906, § 3, 34 Stat. 539;
    see also, Osage Nation Constitution, Art. I.


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    continuing trespass. The Court cannot grant Defendants the right to use or possess the

    Osage Nation’s in situ minerals, because the Court cannot alienate the Osage Nation’s rights

    to the in situ minerals. Only Congress is allowed to do this. Defendants’ call for the Court to

    undo that which has been lawfully done by Congress invites the obliteration of our

    Country’s founding principles. It further invites the reduction of the Osage Nation’s rights to

    its mineral reservation, which would be a punishment against the tribe, not a remedy for it.

         Congress contemplated its own intent to maintain “control” and allow for “tribal

    management” of the valuable mineral estate. Millsap, 717 F.2d at 1328. Therefore, the harm

    caused by Defendants’ continuing trespass against the in situ minerals is irreparable absent

    removal of the wind turbines and ancillary structures – unless a Part 214.7 lease is executed

    by the parties (satisfying Congressional intent and tribal sovereignty) and subsequently

    entered by the Court, resolving the claims at issue. See Dkt. 300 at 32. Regardless of any

    alleged injury to Defendants or public interest, the Court’s lack of authority to allow

    Defendants to continue to use the Osage Nation’s in situ minerals without a lease

    necessitates that Defendants be enjoined.

    V.      Conclusion
         Defendants committed a trespass against the OME when they mined without obtaining a

    federally approved lease. Defendants further committed a trespass against the OME when

    they engaged in excavation work and the pouring of concrete foundations, installation of

    transmission line poles and laying of underground collector system cables within the OME

    without obtaining a federally approved lease. Moreover, Defendants committed a trespass

    against the in situ minerals located within a 90-foot radius of Defendants’ wind turbines,




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    when Defendants used and exploited these minerals to provide structural support for the

    turbines without permission.

       Defendants’ ongoing use of the excavated minerals - as: 1) backfill to support the turbine

    foundations and transmission line poles; 2) thermal insulation for the collector system

    cables; 3) construction material for access pads, roads and aprons around each wind turbine;

    and; 4) build up material for positive drainage - without permission constitutes a continuing

    trespass. Defendants’ ongoing use of the in situ minerals - as structural support for the wind

    turbines - without permission constitutes a continuing trespass as well.

       Without a valid Part 214.7 lease, Defendants’ continuing trespass against the in situ

    minerals must be enjoined, because the Court has no authority to give Defendants the right

    to prospectively use and possess the in situ minerals set aside and reserved to the Osage

    Nation by Congress. Removal of Defendants’ wind turbines and ancillary structures - not

    the diminishment of the Osage Nation’s mineral reservation - is the proper remedy for

    Defendants’ willful, continued wrongdoing in the absence of a lease.

       For the foregoing reasons, the United States respectfully requests the Court deny

    Defendants’ Motion for Partial Summary Judgment (Dkt. 297) in its entirety and grant the

    United States such other and further relief the Court may deem just and proper.




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                                       Respectfully submitted,

                                       United States of America

                                       Clinton J. Johnson
                                       Acting United States Attorney

                                       s/Cathryn D. McClanahan
                                       Cathryn D. McClanahan, OBA No. 14853
                                       Nolan M. Fields IV, OBA No. 31550
                                       Assistant United States Attorneys
                                       110 West 7th Street, Suite 300
                                       Tulsa, Oklahoma 74119
                                       T: 918-382-2700
                                       cathy.mcclanahan@usdoj.gov
                                       nolan.fields@usdoj.gov

                                       Stuart P. Ashworth, OBA #31468
                                       Special Assistant United States Attorney
                                       United States Department of the Interior
                                       Office of the Solicitor
                                       Tulsa Field Solicitor’s Office
                                       7906 East 33rd Street, Suite 100
                                       Tulsa, Oklahoma 74145
                                       T: 918-669-7905
                                       stuart.ashworth@sol.doi.gov

                                       Of Counsel:
                                       Charles R. Babst, Jr.
                                       Attorney-Advisor
                                       United States Department of the Interior
                                       Office of the Solicitor
                                       Tulsa Field Solicitor’s Office
                                       7906 East 33rd Street
                                       Tulsa, Oklahoma 74145
                                       T: 918-669-7902
                                       charles.babst@sol.doi.gov




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